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Dev, £ In:
UNITED STATES DISTRICT COURT OL Ba “hag
SOUTHERN DISTRICT OF TEXAS 8S Clon,
HOUSTON DIVISION * Coup
UNITED STATES OF AMERICA?
Plaintiff, )  Case#vH-18-176
V. )
) Issue: Withdrawal of Appeal
BABAJIDE TOLULOPE BABATUNDE)

Defendant.

 

DEFENDANT WITHDRAWAL OF APPEAL IN FURTHERANCE |
OF HIS 18 U.S.C. §2255 MOTION TO VACATE, SET
ASIDE OR CORRECT THE SENTENCE IMPOSED ON HIM

 

“COME NOW BABAJIDE TOLULOPE BABATUNDE (Defendant) pro se transmit
a copy of his motion of withdrawal of his appeal in furtherance of
his 18 U.S.C. §2255 motion to vacate, set aside or vacate his sentence,
Defendant haven filed a motion to reconsdderpgovernmenhtooppesition
to his 2255 motion with the court by and through plaintiff (United States
of America) attorney on the ground that the 2255 motion conflicted with
his appeal, Defendant indicated on his motion to reconsider to court
his willingness to forgo his appeal for a continuity of his 2255 motion.
He is now forwarding a copy of his motion to withdraw his appeal to that
extend See attached exhibit 1 and Exhibit 2, (DKT No. 91)(Motion to
Dismiss appeal)as well as Exhibit 3(DKT No. 93)(USCA order).

Wherefore, for the reasons presented along with the exhibit

_ provided as proof of his quest to assist the court to unravel the
-issue of conflict of appeal versus 2255 motion. Defendant now come as
he becon with humility and pray that this court grant his request,
continue with his 2255 motion and order the plaintiff (United States
of America) to respond to his#255 motion and rule on its merit for the

interest of justice.

     
  
 

Respectfully submitted\

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